Case 1:05-CV-01023-.]DB-STA Document 9 Filed 05/03/05 Page 1 of 2 age|D 4

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UNITED STATES DISTRICT COURT 05,.!4 "\-»..",\.. 50
WESTERN DISTRICT_oF TENNESSEE " ~3 jo ' 1
EASTER'N DIVISION , -F?;:?:y\_ "7 5.- 0
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/f "’a I _ '
"’5 @§US@§§Q/-
PATRlCIA PATTERSON, ’V~¢:g;;,/; cr
" "~c,/‘y
Plaintiff,
v_ Civil No. 94=+92%~
95 z 10 3 3

COMMISSIONER OF SOCIAL SECURITY,

Defendant.

 

ORDER ALLOW]NG ADDITIONAL TIME TO FI]_.E BRIEF

 

The defendant's motion for additional time to file a bn`ef is granted. The Commissioner shall
file a brief by May 27, 2005.

A.M

Jud United States District Court

Date: cl m#? w if

 

This document entered on the docket sheet in compliance
with F|u|e 58 and,*or_TQ (a) FF|CP on

 

UNITSTED`ATE DISTRICT C URT - WESTERNDTISRIC OF TNNESSEE

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Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Joe H. Byrd

BYRD DONAHOE & BYRD
P.O. Box 2764

Jackson7 TN 3830]--276

Honorable J ames Todd
US DISTRICT COURT

